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                               UNITED STATES OF AMERICA
            WESTERN DISTRICT OF MICHIGAN – SOUTHERN DIVISION
Brian Alexander,                                            File No: 1:18-cv-930
       Plaintiff

       v.
                                                Hon. Janet T. Neff
Steven J. Kwasnik and                           U.S. District Court Judge
Annie Harrison,
       Defendants.
___________________________________________________________________/
J. Nicholas Bostic P40653
Attorney for Plaintiff
909 N. Washington Ave.
Lansing, MI 48906
(517) 706-0132
                                                                                          /
                   FIRST AMENDED COMPLAINT and JURY DEMAND

       Plaintiffs, for their complaint, state:

    1. This is a civil action seeking money damages and equitable relief for violations of the

United States Constitution and federal statutes under 42 U.S.C. §1983 and state law claims.

    2. Plaintiff Brian Michael Alexander is, and at all relevant times was, a competent adult and

a resident of Ingham County in the State of Michigan.

    3. Defendant Annie Harrison is a deputy sheriff for the Ingham County Sheriff, her county

of residence is unknown, and her place of conducting business is Ingham County in the State of

Michigan.

    4. Defendant Steven J. Kwasnik is an assistant prosecutor for the Ingham County

Prosecutor's Office, his county of residence is unknown, and he conducts his business in Ingham

County in the State of Michigan.

    5. This cause of action arose in Ingham County, and in the Western District of Michigan.

   6. At all times relevant to this matter, Defendants were acting under color of law.


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      7. This Court has jurisdiction pursuant to 28 USC §§1331 and 1343(a)(4) for the federal

claims.

                                      GENERAL ALLEGATIONS

      8. Paragraphs 1-7 are incorporated herein by reference.

      9. The complainant, Madison Bostwick,1 alleged that her stepfather, Defendant Brian

Alexander, on four occasions grinded his clothed genitals against her clothed genitals.

    10. Ms. Bostwick's mother, Stefani Alexander, during 2014 learned that Madison was not

        being truthful with her on more than one occasion.

    11. Stefani caught Madison lying to her about her whereabouts among other things/

    12. Plaintiff and Stefani had become concerned with Madison’s behavior.

    13. They both had caught her lying as well as doing illegal acts.

    14. Plaintiff was involved in disciplining Madison for these things.

    15. Also in 2014, Ryan Bostwick notified Stefani and their daughters that he was moving back

        to the Lansing area to be closer to them.

    16. Madison expressed that she wanted to live with her father.

    17. Stefani was aware that the rules for the children in Ryan's house were more relaxed.

    18. Around Christmas 2014, Madison falsely told her younger sister (MB) that Plaintiff had

        sexually abused her on several occasions in the spring of 2013.

    19. Madison made up four events all of which were essentially similar and as described in ¶9

        above.

    20. Madison only gave a detail capable of verification for the "last" event she claimed.

    21. Madison claimed that the last event occurred in her parents' bedroom watching television



1
    Although a minor at the time of the allegation, Ms. Bostwick is currently an adult.

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   when she was sick and at home from school.

22. Madison testified at a preliminary examination unequivocally that she had missed school

   on the day of the "last' event.

23. Madison subsequently told her boyfriend and Stefani.

24. Stefani arranged a confrontation with Madison and Plaintiff and Plaintiff denied the

   allegations.

25. A few days after Madison told her sister, MB told a teacher who reported the incident to

   Children's Protective Services.

26. CPS and the police then initiated their investigations.

27. Defendant Annie Harrison of the Ingham County Sheriff's Office was the assigned

   detective.

28. Defendant Harrison claimed to specialize in investigating child physical and sexual abuse

   and adult sexual assault.

29. She interviewed Madison, MB, and Stefani and then applied for a warrant to arrest

   Plaintiff.

30. She did not conduct any further investigation before getting the warrant.

31. Plaintiff voluntarily met with Defendant Harrison, waived his Miranda rights, and

   participated in an interview with her, after which she arrested him.

32. During the course of her investigation, Defendant Harrison learned that on March 11, 2015,

   Madison had suborned perjury from her boyfriend and did not investigate that incident by

   reviewing Madison's phone or obtaining her phone records.

33. During the investigation, Stefani had informed Defendant Harrison about the several

   instances when Madison had lied.



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34. Defendant Harrison did not follow up or investigate those events.

35. During her investigation, Defendant Harrison would corroborate information received from

   the Plaintiff's attorneys but took no steps to corroborate or refute information from

   Madison.

36. Defendant Harrison was aware that Madison's behavior was causing her to get into trouble

   at home and this included taking photographs of herself that were inappropriate.

37. On February 26, 2015 at the preliminary examination, Madison testified that the “last

   time” Plaintiff allegedly assaulted her was when she was home sick from school.

38. Plaintiff's defense attorneys obtained Madison’s school attendance records which showed

   that Madison never missed any school during the relevant time frame.

39. On July 30, 2015, Plaintiff's sister, Jennifer told Defendant Harrison that the Plaintiff's

   attorneys had Madison's phone or phone records or both.

40. Plaintiff's attorneys turned these records over to the prosecution on August 1, 2015.

41. Defendants Kwasnik and Harrison met with Madison approximately one week before trial

   and informed her that the school records contradicted her story.

42. Madison gave them a new story that claimed she had indeed been sick, but she had texted

   her mother from school and her mother told her to tough it out and stay at school.

43. Plaintiff's attorneys were unaware of the new detail until Madison testified during the trial

   on August 31, 2015.

44. Defendants Kwasnik and Harrison withheld this information from Plaintiff's attorneys.

45. Defendant Kwasnik unfairly used Madison’s text message story to increase Madison’s

   credibility and damage the credibility of her mother, Stefani Alexander.

46. On September 3, 2015, Plaintiff was convicted as charged of four counts of second-degree



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      criminal sexual conduct (CSC), MCL 750.520c.

 47. After trial, Plaintiff's defense attorneys investigated Madison’s new story.

 48. Upon obtaining cell phone records, it was conclusively established that Madison had never

      texted Stefani about being sick at school.

 49. On November 15, 2015, the 30th Circuit Court granted Plaintiff a new trial.

 50. On October 6, 2016, the Michigan Court of Appeals reversed the trial court and reinstated

      Plaintiff's conviction.

 51. On June 21, 2017, the Michigan Supreme Court reversed the Court of Appeals and

      remanded to the 30th Circuit Court for analysis with the correct legal standard.

 52. On August 16, 2017, the 30th Circuit Court upheld its original decision and entered an order

      granting a new trial.

 53. On September 25, 2017, the trial court entered an order dismissing all charges upon the

      prosecutor's motion.

 54. Defendant Harrison did not document Madison's new corroborating detail about the text

      message in a report likely to avoid the disclosure requirements of state criminal practice

      rules and Brady v. Maryland.

55.      Defendant Harrison and Defendant Kwasnik did not disclose the new corroborating detail

about the text message to Plaintiff's attorney likely because they had been told that the defense

attorneys had Madison's phone and they could not risk the defense being able to disprove the

claim.

                     COUNT 1 – CONSPIRACY TO DENY DUE PROCESS
                      (42 U.S.C. §1985 – FOURTEENTH AMENDMENT)

56.      Paragraphs 1 through 54 above are incorporated herein by reference.

57.      On or after August 12, 2015 through August 31, 2015, Defendants Kwasnik and Harrison


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did conspire or agree with each other and others currently unknown.

58.    A purpose of the conspiracy was to impede, hinder, obstruct and defeat the due course of

justice on behalf of Plaintiff in the 30th Circuit Court for Ingham County, State of Michigan

unlawfully and in violation of 42 U.S.C. §1985(2).

59.    A purpose of the conspiracy was to deprive Plaintiff of the equal protection of the laws or

the equal privileges and immunities of the laws of the United States and the State of Michigan

unlawfully and in violation of 42 U.S.C. §1985(3).

60.    On or after August 12, 2015 and through August 31, 2015, Defendant Kwasnik

committed an act in furtherance of the conspiracy by failing to disclose Madison's new version of

the corroborating detail to Plaintiff's attorneys as required by the Due Process Clause of the

Fourteenth Amendment.

61.    On or after August 12, 2015 and through August 31, 2015, Defendant Harrison

committed an act in furtherance of the conspiracy by failing to document Madison's new version

of corroborating detail to prevent its discovery through mandatory disclosure to Plaintiff's

attorneys as required by the Due Process Clause of the Fourteenth Amendment.

62.    Plaintiff was harmed by the conduct of Defendants in that a jury was convinced they

should believe Madison and not believe Stefani or Plaintiff due to the inability to properly cross-

examine Madison.

63.    The harm in Paragraph 62 above was a direct and proximate result of Defendants

withholding exculpatory information from Plaintiff's attorneys in violation of the Fourteenth

Amendment to the United States Constitution.

64.    Plaintiff was harmed by the conduct of Defendants in that he remained convicted until the

order for a new trial was entered on November 20, 2015 and during that time he suffered the



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stress, embarrassment, humiliation, and emotional distress of being a convicted felon, having to

register on the sex offender registry, permanent loss of his employment as a police officer, and

severe stress to his marriage.

65.    Plaintiff was harmed by the conduct of Defendants in that he incurred the unnecessary

and extreme expense of retaining attorneys to continue his defense through appeals by the

prosecution and appeals on his behalf until the matter was dismissed on September 25, 2017.

               COUNT 2 – DENIAL OF DUE PROCESS BY DEFENDANT KWASNIK
                      (42 U.S.C. §1985 – FOURTEENTH AMENDMENT)

 66. Paragraphs 1 through 65 above are incorporated herein by reference.

 67. Between August 12, 2015 and August 31, 2015, Defendant Kwasnik had a duty to disclose

      the information from Madison concerning her new explanation about the text message

      because the disclosure would have furthered impeachment of Madison as a witness.

 68. The duty to disclose was clearly established as a requirement in a criminal prosecution

      pursuant to the Due Process Clause of the Fourteenth Amendment to the United States

      Constitution.

 69. Defendant Kwasnik deliberately and maliciously withheld the information for the purpose

      of violating and did cause a violation of Plaintiff's constitutional rights under the Due

      Process Clause of the Fourteenth Amendment.

 70. Defendant Kwasnik's conduct was a direct and proximate cause of harm to Plaintiff as

      described in Paragraphs 62 through 65 above.

            COUNT 3 – DENIAL OF DUE PROCESS BY DEFENDANT HARRISON
                   (42 U.S.C. §1985 – FOURTEENTH AMENDMENT)

 71. Paragraphs 1 through 70 above are incorporated herein by reference

 72. Between August 12, 2015 and August 31, 2015, Defendant Harrison had a duty to disclose



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   the information from Madison concerning her new explanation about the text message

   because the disclosure would have furthered impeachment of Madison as a witness.

73. The duty to disclose was clearly established as existing pursuant to the Due Process Clause

   of the Fourteenth Amendment to the United States Constitution.

74. Defendant Harrison deliberately and maliciously withheld the information for the purpose

   of violating and did cause a violation of Plaintiff's constitutional rights under the Due

   Process Clause of the Fourteenth Amendment.

75. Defendant Harrison's conduct was a direct and proximate cause of harm to Plaintiff as

   described in Paragraphs 62 through 65 above.

                         COUNT 4 – MALICIOUS PROSECUTION
                          (Fourth Amendment – 42 U.S.C. §1983)

76. Paragraphs 1 through 75 above are incorporated herein by reference.

77. On or about January 13, 2015, Defendant Harrison prepared a warrant request for Plaintiff

   and submitted it to the Ingham County Prosecutor's Office for criminal charges.

78. Defendant Harrison included in the warrant request her investigation report.

79. Approximately one week before trial, Defendants Kwasnik and Harrison participated in an

   interview with Ms. Bostwick regarding the false claim of missing school on the day of the

   last allegation.

80. Defendant Harrison's submission of the warrant request, inclusion of her investigation

   report, and participation in the meeting approximately one week before trial establish her

   participation in the initiation of the criminal charges against Plaintiff.

81. The material omissions from Defendant Harrison's investigative report about the credibility

   of Madison Bostwick influenced the initiation of criminal charges against Plaintiff.

82. The narrative portion of Defendant Harrison's investigative report concerning her interview


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   with Stefani Alexander (Plaintiff's wife) was biased to falsely portray her interview as

   negative to her credibility.

83. The narrative portion of Defendant Harrison's investigative reports concerning her

   interviews with Stefani Alexander and Jennifer Alexander were biased to falsely portray

   Plaintiff as responsible for the accusations of Madison Bostwick.

84. Upon information and belief, Defendant Harrison submitted or caused to be submitted

   referrals to Children's Protective Services against Stefani Alexander and Jennifer

   Alexander to chill their opposition to the prosecution.

85. By on or about August 15, 2015, Defendants Kwasnik and Harrison, were aware:

      a. Plaintiff had passed private polygraphs confirming his denials.

      b. Ms. Bostwick had solicited a friend to make a false statement.

      c. Ms. Bostwick had engaged in numerous and series falsehoods with her mother.

      d. Ms. Bostwick had fabricated the claim that she missed school on the date of the last

          allegation.

      e. Ms. Bostwick had fabricated the claim that she did not have a television in her own

          room.

86. Notwithstanding being aware of the items in Paragraph 84 above, Defendants Kwasnik and

   Harrison continued and maintained the prosecution of Plaintiff.

87. It has been clearly established law since at least 2006 that uncorroborated allegations of a

   child are to be treated with caution.

88. Once the only piece of corroborating information was refuted, Defendants Kwasnik and

   Harrison allowed or encouraged Madison Bostwick to provide another fabricated piece of

   corroborating information and failed to disclose it until her testimony before the jury.



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89. Defendants Kwasnik's and Harrison's disregard of the circumstances listed above as of on

   or about August 15, 2015 make their withholding of the information about the purported

   text message a knowing and reckless act which was material to refuting probable cause.

90. Defendant Kwasnik was assigned as the assistant prosecutor after the case was initially

   charged.

91. Defendant Kwasnik engaged in communications with defense counsel from January 2015

   throughout trial and in to post-judgment proceedings in October 2017.

92. Defendant Kwasnik's participated in and influenced the maintenance and continuation of

   the prosecution after probable cause no longer existed.

93. Defendants Kwasnik and Harrison failed to corroborate Madison Bostwick's new

   explanation that she sent a text message on the date of the last allegation.

94. Madison Bostwick's motive from bringing the allegations was to be able to live with her

   father instead of her mother and Plaintiff.

95. Madison Bostwick's credibility was highly suspect because of the reports from her mother,

   Stefani Alexander.

96. Madison Bostwick's claim that she had been home from school on the date of the last

   allegation had been refuted by school attendance records supplied by the defense.

97. Based on all of the available information, by August 15, 2015, probable cause to maintain

   or continue the prosecution of Plaintiff did not exist.

98. Plaintiff was arrested on January 14, 2015 immediately after his interview with Defendant

   Harrison.

99. Plaintiff was arraigned on January 14, 2015.

100. Plaintiff remained in custody until he posted bond on January 14, 2015.



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101. Plaintiff's pretrial release order of January 14, 2015 imposed the following restrictive

   conditions on him:

      a. Mandatory appearance for all court proceedings.

      b. Not leave the state of Michigan without permission of the court.

      c. A requirement to report an y change of address or telephone number.

      d. Prohibited from possessing or purchasing a firearm or other dangerous weapon.

      e. Stay away from Madison Bostwick by a distance of 500 feet.

102. On January 30, 2015, the pretrial release order was modified and an additional restriction

   of no use of alcohol was imposed.

103. Plaintiff posted his bond on January 14, 2015 at approximately 3:15 p.m. after being held

   in custody for approximately two hours inside the jail.

104. An order was issued by the state district court on January 14, 2015 mandating the

   Plaintiff submit to fingerprinting.

105. While initially in custody on January 14, 2015, Plaintiff held in a room near the booking

   area of the jail (away from other prisoners) and was fingerprinted and photographed before

   going on a video system for his arraignment in mid-afternoon.

106. When the interview by Defendant Harrison ended, two male officers entered the room

   and arrested Plaintiff by handcuffing him behind his back and walking him through

   hallways to the booking area of the jail.

107. Plaintiff suffered additional infringements of his liberty such as:

      a. Reporting monthly to pretrial services between posting bond and trial.

      b. Being required to appear for a preliminary examination on February 26, 2015.

      c. Being required to appear for motion hearings and pretrial hearings.



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      d. Being required to appear for a jury trial on August 31, 2015, September 1, 2015, and

          September 3, 2015.

      e. Being temporarily convicted after the jury returned its verdict.

      f. Remaining under post-trial release conditions until the new trial was granted by the

          trial court on November 15, 2015.

      g. Returning to post-trial release conditions after the Michigan Supreme Court reversed

          the Michigan Court of Appeals on June 20, 2017.

      h. Returning to pretrial release conditions until the 30th Circuit Court again granted a

          new trial on August 16, 2017.

      i. Remaining on pretrial release conditions until the charges were dismissed on

          September 25, 2017.

      j. Being required to register as a sex offender until the new trial was granted.

      k. Being required to submit to an interview and provide all requested information in

          preparation of a presentence investigation report.

108. All criminal proceedings against Plaintiff were resolved in his favor on September 25,

   2017 when the state trial court entered an order of nolle prosequi.

109. As of August 31, 2015, it was clearly established law that a prosecution could not be

   initiated or maintained without probable cause.

110. Defendant Kwasnik's conduct was a direct and proximate cause of harm to Plaintiff as

   described in Paragraphs 62 through 65 above.




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                                      JURY DEMAND


      Plaintiff hereby demands trial by jury on all counts.

10/24/2018                                          /s/ J. Nicholas Bostic
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                                                    Lansing, MI 48906




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